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                                         UNITED STATES DISTRICT COURT
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                                        NORTHERN DISTRICT OF CALIFORNIA
13
                                            SAN FRANCISCO DIVISION
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      IN RE: UBER TECHNOLOGIES, INC., PASSENGER               Case No. 3:23-md-03084-CRB (LJC)
17    SEXUAL ASSAULT LITIGATION
                                                              STIPULATION AND [PROPOSED]
18                                                            ORDER CONTINUING NON-PARTY
                                                              LYFT, INC.’S DEADLINE TO OBJECT
19    This Document Relates to:                               TO MAGISTRATE JUDGE’S ORDER
                                                              REGARDING THIRD-PARTY
20    ALL ACTIONS                                             SUBPOENA DISPUTES (ECF 395)
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     Case No. 3:23-md-03084-CRB (LJC)             STIP AND [PROPOSED] ORDER CONTINUING LYFT’S DEADLINE TO OBJECT
              Case 3:23-md-03084-CRB Document 1047 Filed 08/15/24 Page 2 of 5


 1            WHEREAS, Judge Cisneros granted in part and denied in part non-party Lyft, Inc.’s motion
 2   to quash a Rule 45 subpoena on July 14, 2024 (ECF 695);
 3            WHEREAS, based on Lyft and the parties’ prior stipulation (ECF 747), the Court continued
 4   Lyft’s deadline to object to that order from July 29, 2024 until August 16, 2024 or, in the event Lyft
 5   filed a motion seeking reconsideration, until fourteen days after Judge Cisneros’ ruling on Lyft’s
 6   motion (ECF 751);
 7            WHEREAS, on July 29, 2024, Judge Cisneros issued an order inviting non-parties who have
 8   been ordered to produce discovery in response to a subpoena arising from this proceeding, such as
 9   Lyft, to file a brief report, among other things, “rais[ing] any issues that the nonparty would like to
10   address with the Court,” and permitting non-parties to appear at an August 8, 2024 status conference
11   (ECF 755);
12            WHEREAS, on August 5, 2024 Lyft filed a report jointly with the parties raising an issue
13   regarding the scope of documents potentially subject to Judge Cisneros’ subpoena order (ECF 774);
14            WHEREAS, Judge Cisneros stated she will issue an order regarding Lyft discovery (ECF
15   867);
16            WHEREAS, Lyft and Plaintiffs have been conferring on the subpoena, which may yield
17   further issues to present to Judge Cisneros for decision; and
18            WHEREAS, under the Court’s prior order (ECF 751), the parties understand that Lyft’s
19   deadline to object to Judge Cisneros’ subpoena order now is fourteen days after Judge Cisneros’ last
20   ruling on Lyft discovery;
21            NOW, THEREFORE, under Civil Local Rule 7-12, the parties hereby stipulate and confirm
22   that the deadline for Lyft to object to the Court’s July 14, 2024 order under Federal Rule of Civil
23   Procedure 72(a) and Civil Local Rule 72-2 is extended until fourteen days after Judge Cisneros’s last
24   order regarding Lyft discovery.
25            IT IS SO STIPULATED.
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     Case No. 3:23-md-03084-CRB (LJC)            STIP AND [PROPOSED] ORDER CONTINUING LYFT’S DEADLINE TO OBJECT
              Case 3:23-md-03084-CRB Document 1047 Filed 08/15/24 Page 3 of 5


 1   Dated: August 15, 2024             Respectfully submitted,
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                                        By: /s/ Warren Metlitzky
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     Case No. 3:23-md-03084-CRB (LJC)        STIP AND [PROPOSED] ORDER CONTINUING LYFT’S DEADLINE TO OBJECT
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 1                                               ATTESTATION
 2            Under Civil Local Rule 5-1(h)(3), I hereby attest that each of the other signatories have
 3   concurred in the filing of this document.
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 5   DATED: August 15, 2024                                 /s/ Warren Metlitzky
 6                                                          Warren Metlitzky

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     Case No. 3:23-md-03084-CRB (LJC)            STIP AND [PROPOSED] ORDER CONTINUING LYFT’S DEADLINE TO OBJECT
              Case 3:23-md-03084-CRB Document 1047 Filed 08/15/24 Page 5 of 5


 1                                       UNITED STATES DISTRICT COURT
 2                                      NORTHERN DISTRICT OF CALIFORNIA
 3                                          SAN FRANCISCO DIVISION
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 6    IN RE: UBER TECHNOLOGIES, INC., PASSENGER               Case No. 3:23-md-03084-CRB (LJC)
      SEXUAL ASSAULT LITIGATION
 7                                                            [PROPOSED] ORDER CONTINUING
                                                              NON-PARTY LYFT, INC.’S DEADLINE
 8                                                            TO OBJECT TO MAGISTRATE
      This Document Relates to:                               JUDGE’S ORDER REGARDING
 9                                                            THIRD-PARTY SUBPOENA DISPUTES
      ALL ACTIONS                                             (ECF 395)
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12            The Court hereby GRANTS non-party Lyft, Inc.’s and the parties’ stipulation as follows:

13   The Court confirms that the deadline for Lyft to object to the Court’s July 14, 2024 order under

14   Federal Rule of Civil Procedure 72(a) and Civil Local Rule 72-2 is fourteen days after Judge

15   Cisneros’s last order regarding Lyft discovery.

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17            PURSUANT TO STIPULATION, IT IS SO ORDERED.

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19   DATE: ___________________
                                                             HON. CHARLES R. BREYER
20                                                           UNITED STATES DISTRICT JUDGE
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     Case No. 3:23-md-03084-CRB (LJC)             STIP AND [PROPOSED] ORDER CONTINUING LYFT’S DEADLINE TO OBJECT
